            If this opinion indicates that it is “FOR PUBLICATION,” it is subject to
                 revision until final publication in the Michigan Appeals Reports.




                          STATE OF MICHIGAN

                           COURT OF APPEALS


PEOPLE OF THE STATE OF MICHIGAN,                                    UNPUBLISHED
                                                                    August 15, 2024
               Plaintiff-Appellee,

v                                                                   No. 363036
                                                                    Ottawa Circuit Court
RICHARD TRAVIS MARTIN,                                              LC No. 22-045059-FH

               Defendant-Appellant.


Before: SWARTZLE, P.J., and K. F. KELLY and YOUNG, JJ.

PER CURIAM.

        Defendant appeals by right his jury-trial conviction of one count of operating a motor
vehicle while intoxicated (“OWI”),1 for which he was sentenced by the trial court to 90 days in
jail. Finding no errors warranting reversal, we affirm.

                      I. BASIC FACTS AND PROCEDURAL HISTORY

        On November 11, 2021, a resident of Woodwind Drive in Holland, Michigan was driving
on Lakewood Boulevard at approximately 9:00 p.m., when he observed a vehicle come down
Woodwind Drive, “coast” across Lakewood Boulevard, and “roll into” the grassy area, where it
came to a stop. The witness testified that after dropping his wife off at home, he went to check on
the driver and found defendant unconscious in the driver’s seat with his head slumped over and
his eyes closed. The witness called 911 and informed the operator that the vehicle was still in
drive and that defendant was not wearing his seatbelt. While the witness was speaking with the
emergency operator, defendant regained consciousness and exited the vehicle. The witness
described defendant as “confused” and “agitated,” and observed defendant walk into a wooded
area until he was no longer visible.



1
  Defendant was also convicted of one count of assaulting, battering, wounding, resisting,
obstructing, opposing, or endangering a police officer, MCL 750.81d(1); however, that conviction
has not been challenged on appeal.


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       Shortly after the 911 call, Ottawa County Sheriff’s deputies arrived. The deputies
employed a canine to track defendant, where he was eventually located leaning up against a tree
approximately one hundred yards from his vehicle. Defendant’s blood alcohol content was
subsequently measured to contain 0.163 grams of alcohol per 100 milliliters of blood. Deputy
Anthony Stariha testified that he later inventoried the vehicle and located paperwork in it that
contained defendant’s name and date of birth, as well as a bank card containing defendant’s name.

      As previously stated, the jury found defendant guilty of one count of OWI, MCL
257.625(1)(a). This appeal followed.

                                  II. STANDARDS OF REVIEW

        We review “de novo defendant’s challenge to the sufficiency of the evidence,” and view
the evidence “in the light most favorable to the prosecution to determine whether a rational trier
of fact could have found the essential elements of the crime to have been proved beyond a
reasonable doubt.” People v Meissner, 294 Mich App 438, 452; 812 NW2d 37 (2011). The Court
“must defer to the fact-finder by drawing all reasonable inferences and resolving credibility
conflicts in support of the jury verdict.” People v Schumacher, 276 Mich App 165, 167; 740
NW2d 534 (2007).

                                          III. ANALYSIS

       On appeal, defendant contends that there was insufficient evidence presented at trial to
prove beyond a reasonable doubt that he was “operating” his vehicle. According to defendant, he
was found asleep behind the wheel of his vehicle facing a wooded area and was not at risk of
causing a collision. Thus, because he was not “operating” his vehicle, as that term is defined under
MCL 257.35a, defendant argues that the prosecutor failed to prove all of the necessary elements
beyond a reasonable doubt. We disagree.

         In a criminal case, the prosecutor must introduce sufficient evidence to entitle a rational
trier of fact in finding all essential elements of the crime were proven beyond a reasonable doubt.
People v Lowrey, 342 Mich App 99, 122; 993 NW2d 62 (2022). Identity is an essential element
of every crime. People v Bass, 317 Mich App 241, 263; 893 NW2d 140 (2016). The prosecutor
is not required to negate “every reasonable theory consistent with innocence” as long as the
elements of the offense are proven beyond a reasonable doubt. People v Nowack, 462 Mich 392,
400; 614 NW2d 78 (2000).

        MCL 257.625(1) states that “[a] person, whether licensed or not, shall not operate a vehicle
on a highway or other place open to the general public or generally accessible to motor vehicles,
including an area designated for the parking of vehicles, within this state if the person is operating
while intoxicated.” (Emphasis added.) The Michigan Vehicle Code, MCL 257.923 et seq., defines
“operating” as “[b]eing in actual physical control of a vehicle.” MCL 257.35a(a).

        In People v Wood, 450 Mich 399, 402; 538 NW2d 351 (1995), the defendant was found
unconscious in his vehicle at a drive-through window with a beer can between his legs. The
defendant was slumped forward with his head resting on the steering wheel, his foot on the brake
pedal, and the vehicle’s transmission in drive. Id. The defendant moved to suppress the evidence,
which the trial court granted reasoning that “the police were not justified in arresting” the


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defendant “because they did not see him committing a misdemeanor by ‘operating’ the vehicle
under the influence of intoxicating liquor.” Id. The Michigan Supreme Court reversed, stating
that

       “operating” should be defined in terms of the danger the OUIL statute seeks to
       prevent: the collision of a vehicle being operated by a person under the influence
       of intoxicating liquor with other persons or property. Once a person using a motor
       vehicle as a motor vehicle has put the vehicle in motion, or in a position posing a
       significant risk of causing a collision, such a person continues to operate it until the
       vehicle is returned to a position posing no such risk. [Id. at 404-405.]

The Court held that because the defendant “put the vehicle in motion and in a position posing a
significant risk of collision,” and because “[t]he vehicle had not been returned to a position of
safety,” the defendant was operating the vehicle for purposes of the statute. Id. at 405.

        In People v Burton, 252 Mich App 130, 132; 651 NW2d 143 (2002), the defendant was
found asleep behind the steering wheel in his vehicle at a golf course with the engine still running.
When questioned by the police, the defendant admitted that he “consumed eight beers earlier that
evening” and “drove his truck from one side of the parking lot to the location where it was parked.”
Id. The defendant failed a field sobriety test, and his blood alcohol content was measured at 0.18.
Id. at 132-133. Relying on Wood, 450 Mich at 404-405, this Court held that there was insufficient
evidence presented at trial to support defendant’s conviction because “[t]here was no evidence that
defendant’s truck was in motion when the police discovered him,” Burton, 252 Mich App at 144,
and “the evidence did not provide a basis for the jury to properly conclude that defendant’s truck
was in a position posing a significant risk of causing a collision.” Id. 143-144. We concluded,
therefore, that the “mere fact” that the defendant “was intoxicated and in his truck with the engine
running does not establish that he tried and failed to drive while intoxicated.” Id. at 145.

        Defendant argues that, unlike the defendant in Wood and like the defendant in Burton, his
vehicle was not in a position that risked putting the vehicle in motion or a collision. Accordingly,
defendant asserts that under these cases, he was not “operating” his vehicle and could not have
been found guilty of OWI. This argument ignores, however, that the witness observed defendant
drive through an intersection and onto a grassy area where the vehicle came to a stop. The witness
also observed that defendant was initially unconscious and “slumped forward” in the driver’s seat
with the vehicle’s transmission still in drive. Unlike both Wood and Burton, in which no witness
actually observed either defendant driving their vehicles, defendant was seen by a witness driving
his vehicle across two lanes of traffic and onto a grassy area where the vehicle came to a stop.
Therefore, there was sufficient evidence that defendant was observed putting “the vehicle in
motion and in a position posing a significant risk of collision,” Wood, 450 Mich at 405, even if the
vehicle had been returned to a position of safety once it stopped. Unlike the defendant in Burton,
252 Mich App at 145, defendant’s OWI conviction was not solely based on the “mere fact” that
the defendant was intoxicated and in his vehicle with the transmission in drive, because testimony
was presented at trial that defendant was in “actual physical control” of his vehicle before it came
to a stop. See MCL 257.35a(a).

        In addition to contesting whether he was “operating” the vehicle, defendant also argues
that there was insufficient evidence to identify him as the person who was seen by the witness


                                                 -3-
driving the vehicle. Defendant contends that the witness’s testimony establishes that someone was
seen driving the vehicle through the intersection but, because the witness did not immediately stop,
the prosecutor could not establish that person was, in fact, defendant. We are, however, required
to draw all reasonable inferences in favor of the jury’s verdict, and it is irrelevant whether the
evidence relied on by the jury was direct or circumstantial. Nowack, 462 Mich at 400 (“The scope
of review is the same whether the evidence is direct or circumstantial.”). Accordingly, the
prosecutor was entitled to establish the elements of the crime, including identity, from
circumstantial evidence and the reasonable inferences arising from it. See id.
        The witness testified the he observed a person drive down Woodwind Drive, “coast” across
Lakewood Boulevard, and “roll into” the grassy area, where it came to a stop. While the witness
did not immediately stop, when he returned, the witness found defendant unconscious behind the
wheel in the vehicle. The jury, therefore, was entitled to draw reasonable inferences from the
witness’s testimony to conclude that the unconscious person found by the witness was the same
person who was seen driving moments earlier in the same vehicle, i.e., defendant. Accordingly,
we reject defendant’s argument that there was insufficient evidence to identify him as the person
seen driving the vehicle.

        Defendant also contends that the witness’s testimony was unreliable because the witness
misidentified defendant’s license plates. However, the credibility of a witness and the weight
given to his or her testimony are matters for the fact-finder to determine, and we will not interfere
with those determinations. See People v Kanaan, 278 Mich App 594, 619; 751 NW2d 57 (2008).

       Affirmed.

                                                              /s/ Brock A. Swartzle
                                                              /s/ Kirsten Frank Kelly
                                                              /s/ Adrienne N. Young




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